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U.S. DISTRICT COURT

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THE UNITED STATES DISTRICTICOURT] OCT 2? 3 200] f :
FOR THE NORTHERN DISTRICT OF TEXAB -
FORT WORTH DIVISION CLERK, US, DISTRICT COURT
BY Nie yi be |
ADVOCACY INCORPORATED, § DEPUTY
PLAINTIFF, §
§
VS. § CIVIL ACTION NO 4:01CV-062-BE
§
TARRANT COUNTY HOSPITAL DISTRICT §
d/b/a JOHN PETER SMITH HOSPITAL, §
DEFENDANTS, §
FINAL JUDGMENT

Consistent with the Memorandum Opinion and Order previously entered in this cause,

It is ORDERED, ADJUDGED and DECREED that

(1)

(2)

the failure of Defendant Tarrant County Hospital District, d/b/a John Peter Smith
Hospital, to grant Advocacy, Inc. prompt access to the records of Sawin or other
individuals with mental illness receiving care or treatment at a facility within the
Tarrant County Hospital District, d/b/a John Peter Smith Hospital, when there exists
a complaint or probable cause to believe that the person has been or ts at risk for
abuse and neglect is hereby declared to be in violation of Advocacy, Inc.’s rights and
duties under 42 USC § 10801 et seq. and 42 U.S.C. § 1983; and.

the Hospital District hereby shall be enjoined and restrained from declining to release
the records of Robert Sawin or any other “individual with mental illness,” as defined
in 42 U.S.C. § 10802(4), when properly requested by Advocacy, Inc. for purposes
related to the Protection and Advocacy for Mentally Ill Individuals Act, 42 U.S.C. §
10801 et seq.

It is further ORDERED, ADJUDGED and DECREED that Plaintiff Advocacy, Inc shall

recover attorneys’ fees in the sum of $17,753 50 from Defendants

SIGNED OCTOBER x 3 2001
CHARLES BLEIL
UNITED STATES MAGISTRATE JUDGE

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